           Case 2:19-cv-00129-TOR                   ECF No. 65       filed 11/06/20        PageID.1116 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington


                       MELISSA PAUL,                                 )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:19-CV-0129-TOR
                                                                     )
                                                                     )
             STATE OF WASHINGTON, et al.,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
’              Defendants' Motion for Summary Judgment (ECF No. 21) is GRANTED.
               Judgment is entered for Defendants.



This action was (check one):

’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                                   THOMAS O. RICE                            on motions for
      Summary Judgment.


Date:      November 5, 2020                                                CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                            Linda L. Hansen
